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                  United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1253                                                     September Term, 2023
                                                                             EPA-FL0A00001
                                                           Filed On: December 7, 2023
Food & Water Watch, et al.,

               Petitioners

       v.

Environmental Protection Agency and
Environmental Appeals Board,

                  Respondents
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Consolidated with 23-1092

       BEFORE:        Millett, Pillard, and Garcia, Circuit Judges

                                             ORDER

       Upon consideration of the motion for partial remand without vacatur, which
includes a request to hold the remainder of these consolidated cases in abeyance, the
responses thereto, and the reply, it is

       ORDERED that the motion be granted and that the portions of National Pollutant
Discharge Elimination System Permit No. FL0A00001 that are potentially subject to
modification in the pending agency proceedings be remanded without vacatur.
Respondents have provided a reasoned explanation for the requested remand, the
motion is made in good faith, and granting it will not unduly prejudice the petitioners.
See generally Cadillac of Naperville, Inc. v. NLRB, 14 F.4th 703, 719 (D.C. Cir. 2021)
(per curiam); Allied-Signal, Inc. v. United States Nuclear Regulatory Commission, 988
F.2d 146, 150-51 (D.C. Cir. 1993). It is

        FURTHER ORDERED that the remaining aspects of these consolidated cases
be held in abeyance pending further order of the court. Respondents are directed to file
a status report within 90 days of the date of this order and at 90-day intervals thereafter.
The parties are directed to file motions to govern future proceedings in these cases
within 30 days after completion of the proceedings on remand or one year from the date
of this order, whichever is earlier.

                                            Per Curiam
